                    Case 6:10-cr-00001-LGW-CLR Document 334 Filed 10/22/15 Page 1 of 1

AO 247 (Rev. ll/11) OrderRegarding                               to l8 U.S.C.$3582{cX2)
                                                  ReductionPursuant
                                 Motionlor Sentence                                                               PageI of2   PublicDisclosur€)



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                                            UNrrBp
                                                                              for the
                                                                  SouthemDistrictof Georgia
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                                                                                                                     2gl5ocT
                                                                     StatesboroDivision

                      UnitedStatesof America
                               v,
                                                                                     CaseNo:       6:10CR00001-3
                                      Fields
                            KeithDenard
                                                                                     USM No:        15162-021
DateofOriginalJudgment:       July15,2Q10
Dateof        Amended
       Previous      Judgment:April2!.n|z _                                          HughT. Hunter
(UseDate of LastAmendedJudgmentifAny)                                                         Attorney
                                                                                     Defenddnt's

                     ORDERREGARI}INGMOTION FOR SENTENCEREDUCTION
                             PIIRSUANTTO 18U.S.C.$ 3s82(cX2)
       Upon motionof I the defendant E the Directorofthe BureauofPrisons X the courtunder18U.S.C.
$ 3582(c)(2)for a reductionin the termof imprisonment  imposedbasedon a guidelinesentencing  rangethathas
iubsequentlybeenloweredandmaderetroactiveby theUnitedStatesSentencing         Commission  pursuant to 28 U.S C
$ 994(u),andhavingconsidered    suchmotion,andtakinginto accountthepolicy statement   setforth at USSG$1B110
andthe sentencing  factorssetforth in 18 U.S.c. $        to
                                                  3553(a),  the extent
                                                                     thatthey areapplicable,
IT IS ORDERED thattlremotionis:
                                                                                       (asreflected
                                                                         of imprisonment
                                                 previouslyimposedsentence
           tr DENIED. f] GRANTEDandthe defendant's                                               in
the lrtstjudgment issued)of                   monthsis reducedto
                                                      (Complete Pafts I and II ofPage 2 when motion is granted)




Exceptasotherwiseprovided,all provisionsofthe judgmentdated
IT IS SO ORDERED.

orderDate: lj$l15

                                                                           DudleyH. Bowen,Jr.
E f f e c t i v eD a t e : N o v e m b e1r, 2 0 l 5
                         (if dilferent fi.om order date)
